            Case 8:16-cv-00860-DKC Document 7 Filed 04/11/16 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

SCOTTSDALE CAPITAL ADVISORS                     )
CORPORATION, et al.,                            )
                                                )
                                                )
               Plaintiffs,                      )
                                                )
       v.                                       )
                                                )
                                                          Case No. 8:16-cv-00860-DKC
FINANCIAL INDUSTRY                              )
REGULATORY AUTHORITY, INC.,                     )
                                                )
                                                )
               Defendant.                       )
                                                )
                                                )
                                                )

             PLAINTIFFS’ PRAECIPE REGARDING UNOPPOSED MOTION

       April 8, 2016 was the deadline for Defendant Financial Industry Regulatory Authority

Inc. to respond to the Motion for Preliminary and Permanent Injunction (the “Motion”; Dkt. 3)

filed by Scottsdale Capital Advisors Corporation, John J. Hurry, Timothy B. DiBlasi, and D.

Michael Cruz (collectively “Plaintiffs”). As of today -- three days later -- Defendant has not

filed an opposition to the Motion. That Defendant’s response to Plaintiffs’ Complaint (Dkt. 1) is

due today is irrelevant to Defendant’s deadline to respond to the Motion. The April 8, 2016

deadline is imposed by the Local Rules of this Court and reflected on the docket. Further,

undersigned counsel informed counsel for Defendant of this deadline by telephone on March 24

and 28, 2016, and confirmed the same in writing on March 30, 2016. Defendant did not file a

motion to extend the deadline.
          Case 8:16-cv-00860-DKC Document 7 Filed 04/11/16 Page 2 of 3




       With no timely opposition filed by Defendant, and there being no good cause for

Defendant to not respond within the allowed time, Plaintiffs respectfully request that the Motion

be granted and that this Court enter a preliminary and permanent injunction restraining and

enjoining Defendant from continuing the disciplinary proceeding in FINRA Case No.

2014041724601 for the reasons set forth in the Motion and attached supporting memorandum

and proposed order.



Dated: April 10, 2016                               Respectfully submitted,

                                                    /s/ Matthew H. Kirtland
                                                    ___________________________________
                                                    Matthew H. Kirtland (Bar No. 26089)
                                                    Kevin Harnisch (admitted pro hac vice)
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                                                    Attorneys for Plaintiffs Scottsdale Capital
                                                    Advisors Corporation, John J. Hurry, Timothy
                                                    B. DiBlasi, and D. Michael Cruz




                                                2
          Case 8:16-cv-00860-DKC Document 7 Filed 04/11/16 Page 3 of 3




                                     CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of April, 2016, I caused a true and correct copy of
the foregoing to be served on all parties via electronic mail and Federal Express, overnight
delivery, as follows:

       Terri L. Reicher
       Associate Vice President
       Associate General Counsel
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       Terri.Reicher@finra.org

       Counsel for Defendant Financial Industry Regulatory Authority, Inc.


                                                /s/ Matthew H. Kirtland
                                                ______________________________
                                                Matthew H. Kirtland




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